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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

STATE OF MARYLAND,                            )
                                              )
                Plaintiff,                    )       Case Number: 1:18-CV-02849-ELH
                                              )
v.                                            )
                                              )
UNITED STATES OF AMERICA, et al.,             )
                                              )
                Defendants.                   )
                                              )

       AMICUS CURIAE BRIEF OF JUDICIAL WATCH, INC. IN OPPOSITION
          TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

       Amicus Curiae Judicial Watch, Inc., by counsel, respectfully submits this brief in

opposition to Plaintiff State of Maryland’s motion for a preliminary injunction. The State of

Maryland’s naked attempt to wage a political battle in the courts should be denied.

       1.       Judicial Watch is a non-partisan, educational foundation that seeks to promote

transparency, integrity, and accountability in government and fidelity to the rule of law. Judicial

Watch regularly files amicus curiae briefs to advance its public interest mission. Judicial

Watch’s purpose in filing this brief is to highlight for the Court the interesting preliminary issues

raised by the State of Maryland’s motion. Judicial Watch does not believe the Court needs to

reach the flimsy merits argument to dismiss the motion. 1




1
        Contrary to the State of Maryland’s assertion, the Attorney General Succession Act in no
way mandates that the Deputy Attorney General becomes the Acting Attorney General. The
statute says “may.” 28 U.S.C. § 508(a) (“In case of a vacancy in the office of Attorney General,
or of his absence or disability, the Deputy Attorney General may exercise all the duties of that
office.” (emphasis added)). To the extent the Vacancies Reform Act is constitutional – and the
State of Maryland does not argue otherwise – the Attorney General Succession Act does not
prohibit the VRA’s application in this case.
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       2.       Upon Attorney General Jeff Sessions’ resignation, President Trump appointed

Matthew Whitaker as Acting Attorney General. Less than a week later, Maryland Attorney

General Brian Frosh, on behalf of the State of Maryland, asked the Court to preliminarily enjoin

the automatic substitution of Whitaker for Sessions, one of the original, seven defendants in this

case. In discussing why he filed this highly unusual motion, Frosh explained, “[T]his guy, Mr.

Whitaker, has extreme views and that’s dangerous in itself.” Ann E. Marimow, “Maryland

challenges legality of Whitaker’s appointment as acting U.S. attorney general,” The Washington

Post (Nov. 13, 2018, available at https://www.washingtonpost.com/local/public-safety/maryland-

to-challenge-legality-of-whitakers-appointment-as-acting-us-attorney-general/2018/11/13/

3356062a-e747-11e8-a939-9469f1166f9d_story.html).

       3.       The procedural posture of this case is anything but ordinary. The State of

Maryland is seeking to prevent a routine, automatic “procedural device for substituting a

successor for a past officeholder as a party.” Fed. R. Civ. P. 25(d) advisory committee notes. In

addition, the day after filing its motion, the State of Maryland filed an amended complaint.

Based on the redline version of the document (ECF 8-1), the sole purpose of the amendment was

to name two additional defendants: Whitaker and Rod J. Rosenstein. Whereas Whitaker is the

appointed Acting Attorney General, Plaintiff asserts Rosenstein is the actual Acting Attorney

General. Plaintiff therefore is currently suing three individuals in their official capacity as

Attorney General: Sessions, Whitaker, and Rosenstein. Regardless of how the Court rules on the

pending motion, either Whitaker or Rosenstein will be a named twice as a defendant in this

action. The State of Maryland’s motion, therefore, appears to be moot.

       4.       Even if the amended complaint does not moot its request, the State of Maryland’s

motion fails because its lawsuit is against Attorney General Sessions, in his official capacity as



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attorney general. It is not against him in his personal capacity. There is nothing for the Court to

do. Substitution is automatic. Fed. R. Civ. P. 25(d) advisory committee notes (The rule will

apply “to any action brought in form against a named officer, but intrinsically against the

government or the office or the incumbent thereof whoever he may be from time to time during

the action.”).

        5.       Because this case is an official capacity lawsuit (as well as against the United

States and the Department of Justice), Supreme Court precedent suggests the de facto officer

doctrine would apply. “The de facto officer doctrine confers validity upon acts performed by a

person acting under the color of official title even though it is later discovered that the legality of

that person’s appointment or election to office is deficient.” Ryder v. United States, 515 U.S.

177, 180 (1995). The doctrine “springs from the fear of chaos that would result from multiple

and repetitious suits challenging every action taken by every official whose claim to office could

be open to question and seeks to protect the public by insuring the orderly functioning of the

government despite technical defects in title to office.” Id. (citation and quotations omitted).

        6.       The fear of multiple and repetitious legal challenges envisioned by the Supreme

Court in Ryder has become a reality over the past three weeks. Not only has the State of

Maryland filed this novel motion, but one of its attorneys, Thomas C. Goldstein, filed a similar

motion with the Supreme Court. Notice to Court (ECF 12). In fact, portions of the two motions

are substantially similar. In addition, three Senators have filed a lawsuit seeking almost identical

relief to that being sought by the State of Maryland here: a declaration that Whitaker is not the

Acting Attorney General and an injunction preventing Whitaker from performing the functions

and duties of the Office of the Attorney General. Complaint for Declaratory and Injunctive

Relief, Blumenthal v. Whitaker, Case No. 18-cv-02664 (D.D.C., filed November 19, 2018).



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Moreover, briefing on the same issue also occurred in the U.S. Court of Appeals for the District

of Columbia. See In re: Grand Jury Investigation, Case No. 18-3052.

       7.       Besides the active litigation, other state attorneys general and city attorneys have

indicated that they are thinking about raising the issue in other courts around the country.

Because Judicial Watch is concerned these legal challenges are nothing more than a coordinated

effort by political opponents of President Trump, Judicial Watch recently sent a public records

request to the Maryland Office of the Attorney General seeking:

   •   All communications between any official, officer, or employee of Maryland’s
       Office of the Attorney General and any official, officer, or employee of other
       state’s office of the attorney general about the appointment of Matthew G.
       Whitaker as Acting Attorney General;

   •   All communications between any official, officer, or employee of Maryland’s
       Office of the Attorney General and any officer, employee, or member of the
       Democratic Attorneys General Association about the appointment of Matthew G.
       Whitaker as Acting Attorney General;

   •   All communications between any official, officer, or employee of Maryland’s
       Office of the Attorney General and any other non-State of Maryland individual or
       entity about the appointment of Matthew G. Whitaker as Acting Attorney
       General; and

   •   All communications between any official, officer, or employee of Maryland’s
       Office of the Attorney General and Thomas C. Goldstein or any employee of
       Goldstein & Russell, P.C. about Michaels v. Sessions or using arguments made in
       Maryland’s Motion for Preliminary Injunction to Substitute Defendant in
       Maryland v. United States.

       8.       In short, the State of Maryland’s motion is a political document. It is not a serious

legal challenge. Unlike most of the cases where courts conclude the doctrine does not apply, the

State of Maryland’s motion does not challenge the appointment of a judge (or even an officer)

currently adjudicating its case. Bhatti v. Federal Housing Finance Agency, 2018 U.S. Dist.

LEXIS 112892, **38-43 (D. Minn. July 6, 2018). The Attorney General is one of (now) nine

defendants, including the United States. Since there has been no change of administration, who

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precisely is the Acting Attorney General is of little consequence. The relevant factor is that

President Trump remains president.

          9.       For all these reasons, Plaintiff’s motion for a preliminary injunction should be

denied.

Dated: November 26, 2018                                         Respectfully submitted,


                                                                 /s/ Robert D. Popper
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